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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. MJ08-517
 8                                                     )
           v.                                          )    DETENTION ORDER
 9                                                     )
     LAMOS WAYNE STURGIS,                              )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offense charged:

13         Possession With Intent To Use or Transfer Five or More False Identification Documents.

14    Detention Hearing: November 19, 2008.

15         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17    that no condition or combination of conditions which the defendant can meet will reasonably

18    assure the appearance of the defendant as required and the safety of any other person and the

19    community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)     Defendant has a criminal history going back to 1979. Since then he has been

22    convicted seven times for offenses including assault, burglary, possession of controlled

23    substances and forgery. In March of 2008, defendant was charged with forgery in Georgia.


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 1         (2)     Defendant was arrested in this district although he has no apparent ties here. The

 2    sole reason defendant was in this district, according to the evidence the government proffered,

 3    was to fraudulently obtain money by using false identification documents. At the time of his

 4    arrest, defendant had been in the district for only a few days and was about to board a plane at Sea

 5    Tac airport to fly to California. The government also proffered evidence that just prior to

 6    defendant’s arrest in this district, defendant had engaged in fraud in Oregon and Arizona.

 7         It is therefore ORDERED:

 8         (1)     Defendant shall be detained pending trial and committed to the custody of the

 9    Attorney General for confinement in a correctional facility separate, to the extent practicable,

10    from persons awaiting or serving sentences, or being held in custody pending appeal;

11         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

12    counsel;

13         (3)     On order of a court of the United States or on request of an attorney for the

14    Government, the person in charge of the correctional facility in which defendant is confined shall

15    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

16    with a court proceeding; and

17         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

18    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

19         DATED this 19th day of November, 2008.

20

21                                                        A
                                                          BRIAN A. TSUCHIDA
22                                                        United States Magistrate Judge

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     DETENTION ORDER -2
